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                   IN THE UNITED STATE DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

WILLIE McRAY,

                    Plaintiff,

      v.                                    No. 17 C 1588

THOMAS ROSS, Director of Public             Judge Edmond E. Chang
Safety for the Village of Bolingbrook, in
his individual and official capacities;     Magistrate Judge Mary M. Rowland
Deputy Chief KENNETH TEPPEL, in his
individual and official capacities;
Commander MICHAEL ROMPA, in his
individual and official capacities;
Lieutenant RICHARD HILLIARD, in his
individual and official capacities;
Commander DENNIS HESS, in his
individual and official capacities;
Supervisor LINDA LAKETA, in her
individual and official capacities; the
VILLAGE OF BOLINGBROOK, municipal
corporation; and the VILLAGE OF
BOLINGBROOK BOARD OF FIRE AND
POLICE COMMISSIONERS; BARBARA
PROVO, Chairwoman of the Board of
Fire and Police Commissioners; MAJOR
JONES, Vice-Chairman of the Board of
Fire and Police Commissioners; PREM
LALVANI, Secretary of the Board of Fire
and Police Commissioners; SANDRA
BALDASSANO, Member of the Board of
Fire and Police Commissioners;
MAURICE BINNS II, Member of the
Board of Fire and Police Commissioners;
RAY MACRI, Member of the Board of
Fire and Police Commissioners: and,
GRETCHEN SCHROETER, Member of
the Board of Fire and Police
Commissioners,

                    Defendants.
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             DEFENDANTS’ RESPONSE TO PLAINTIFF’S MEMORANDUM IN
              SUPPORT OF COMPLAINT FOR ADMINISTRATIVE REVIEW

      Defendants, VILLAGE OF BOLINGBROOK BOARD OF FIRE AND POLICE

COMMISSIONERS, BARBARA PROVO, MAJOR JONES, PREM LALVANI, SANDRA

BALDASSANO, MAURICE BINNS II, RAY MACRI, and GRETCHEN SCHROETER (the

“BOFPC Defendants”), by and through their attorneys, Frank B. Garrett III and Nikoleta

Lamprinakos of ROBBINS SCHWARTZ NICHOLAS LIFTON & TAYLOR, LTD., submits this

response to Plaintiff’s Memorandum in Support of Complaint for Administrative Review

and request that this Complaint/claim be dismissed and/or denied for the below reasons:

                                I.     INTRODUCTION

      By decisions issued February 13 and March 18, 2017, and after 9 days of hearing,

the Board of Fire and Police Commissioners of the Village of Bolingbrook, Illinois, voted

to discharge the Plaintiff for violating various orders and rules and regulations of the

Bolingbrook Police Department. The Board determined that the Department met its

burden in showing through evidence and testimony, that Plaintiff engaged in several acts

of misconduct and violated direct orders of the Department and order issued by his

superiors.

      On April 26, 2017, Plaintiff filed an Amended Complaint with this Court. Count VII

[sic] VI of this Amended Complaint purports to form the basis of Plaintiff’s Request for

Administrative Review of his dismissal by this Court. For the reasons set forth herein,

Plaintiff’s claim should be dismissed, stricken and/or denied.




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                      II.    STATEMENT OF RELEVANT FACTS1

       On October 20, 2016, November 2, 2016, November 14, 2016, November 29,

2016, December 13, 2016, December 21, 2016, January 12, 2017 and January 18 and

30, 2017, the Board convened for public hearing to receive testimony and evidence on

charges brought against the Plaintiff by Thomas Ross, Director of Public Safety for the

Village of Bolingbrook. (VOB 000179 - 000190). On or about September 29, 2016, Plaintiff

was timely and properly served with charges which alleged his violation of various

Department rules and regulation. (VOB 000001-000009). Thereafter, amended charges

were served upon Plaintiff and his legal counsel on October 24, 2016. (VOB 000599-

000608). These charges were promulgated against Plaintiff only after a Department

review and investigation of various allegations of misconduct and disobedience by

Plaintiff and two charge interviews. (VOB 000208-000272).

       Plaintiff, at all times relevant, was a Sergeant in the Bolingbrook Police Department

(VOB 000235). McRay at all relevant times resided in the Village of Bolingbrook. (VOB

000237). Tom Ross, at all times relevant was the Public Safety Director for the Village

and responsible for supervising, overseeing and directing the operations of the

Department and its personnel. (VOB 000720-000721).

       The conduct and behavior of Department officers is governed, in part, by General

Order No. 12. (VOB 000721). General Order No. 12 contains a partial list of offenses for

which a violation could result in discipline, including dismissal. The Order also makes

clear any Department employee is subject to discipline by a superior or chief of police for


1Defendants, Village of Bolingbrook Board of Fire and Police Commissioners, Barbara Provo,
Major Jones, Prem Lalvani, Sandra Baldassano, Maurice Binns II, Ray Macri and Gretchen
Schroeter, on July 7, 2017 filed a copy of the Record of Proceedings before the Board with this
Court.


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violating any of the directives contained in the Order or Rules and Regulations of the

Village. (VOB 000217)

       Prior to receipt of these charges, on September 2, 2016 Plaintiff was presented

with Notification of Allegations, Formal Investigation and Order. (VOB 000229-231). As

an Exhibit to this document was a list of misconduct under General Order No. 12 of which

Plaintiff was accused to have violated. (VOB 000231). On September 16, 2016, Plaintiff

was interviewed by Lieutenant Larry of the Bolingbrook Police Department. Plaintiff’s

legal counsel was also present at the interview. (Id.) The interview lasted for one hour

and 19 minutes. (Id.) At the beginning of this interview, Plaintiff was informed that he was

alleged to have violated several sections of General Order No. 12 including Section VII,

Paragraph 2, 8 and 33 (VOB 000232).

       Thereafter, charges were filed with the Board by Director Ross seeking discipline

and dismissal of Plaintiff for violation of General Order 12. Such violations include:

             Association with a known felon and person involved in criminal activity, in

              violation of General Order No. 12, Section VII(8) including allowing a known

              felon to reside in his home in the Village;

             Violating a direct order by his superiors regarding the reporting of his

              relationship with a felon;

             Possession of controlled substance or medication without the approval and

              guidance of a licensed physician and knowledge of his superiors;

             Failure to cooperate in a police investigation in violation of General Order

              12, Section VII(9);




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             Failure to read, understand and comply with all rules and regulating orders,

              policies and procedures of the Department;

             Engagement in off duty conduct which adversely affects the morale and

              efficiency of the Department or which has a tendency to destroy public

              respect or confidence in the employee or Department.

(VOB 000005 - 000022)

       Plaintiff’s son, Jeremy, age 19 or 20 at all times relevant, was a convicted felon.

(VOB 000723). Jeremy’s felony conviction for the manufacture, distribution or possession

of a look-alike substance with an intent was in place as of June 23, 2015. (VOB 001105).

Plaintiff did not notify Director Ross, at any time before September of 2015, that his son

was a felon. (VOB 001106).

       On July 12, 2015, the Bolingbrook Police Department responded to a domestic

battery call from Plaintiff’s home (VOB 000514).       Plaintiff’s adult son, Jeremy, was

identified as the alleged offender. (Id.) Jeremy admitted to the responding officers that

he was in possession of cannabis and Xanax.

       In September, 2015 there was a number of motor vehicle break-ins in the Village

of Bolingbrook (VOB 000845). On September 12, 2015, Plaintiff’s adult son, Jeremy was

arrested and charged with felony burglary to a motor vehicle. (Id.) Jeremy was interviewed

by Detective Henry Cunningham of the Department in regard to the arrest. During both

interviews, Jeremy stated that he lived in Bolingbrook at the same address as the Plaintiff.

(Id.) Thereafter Jeremy, was indicted for another felony on September 24, 2016. (VOB

000768).




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       Plaintiff did not inform Director Ross of his son’s arrest for burglary until confronted

with the information. (VOB 000723). It was only as a result of the September 12, 2015

arrest of Jeremy that Director Ross became aware that Jeremy was a convicted felon.

(Id.). During this meeting Director Ross told Plaintiff that General Order 12’s requirement

that officers avoid regular or continued associations or dealings with persons they know

or should know are persons under criminal investigation, or who have a reputation in the

community for involvement in felonious or criminal behavior applied to him. (Id.) Director

Ross directed Plaintiff to submit a memo to him regarding Jeremy’s arrest and the nature

of his contacts with Jeremy. Director Ross followed this up with a directive to Plaintiff that

Jeremy was not allowed to live with Plaintiff. (VOB 000723-000725).

       In July 2016, the Naperville Police Department was looking for Plaintiff’s adult son,

Jeremy, because of a 911 call. (VOB 000728). The call was traced to Plaintiff’s home

where, again, Jeremy was located. (Id.) Plaintiff was interviewed by Director Ross as a

result of this incident and another indication that Jeremy was still living with him. McRay

argued with Director Ross about Jeremy not living with him. (Id.) Director Ross made

clear to Plaintiff that Jeremy’s presence in Plaintiff’s home was a violation of Department

rules against association with felons and he needed to “stop it.” (VOB 000728)

       On August 20, 2016 and for several days thereafter, it came to the Department’s

attention that Plaintiff’s son, Jeremy, was in Plaintiff’s home in Bolingbrook while Plaintiff

was out of town. The Department received reports that a woman at Plaintiff’s house had

been sexually assaulted and the victim of assault and battery allegedly by Plaintiff’s adult

son, Jeremy. (VOB 000503, 000729). Plaintiff suffered a theft of several items from his

home including watches, a guitar, television sets, syringes, a handgun magazine,




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ammunition and shoes. (VOB 001013). Plaintiff also thought his badge, uniform and

possibly his service weapon were stolen as well. (VOB 000722). Plaintiff failed to report

the theft of these personal items. (Id.) Department rules required Plaintiff to file a report

regarding this theft. (VOB 000818-819).

       Thereafter, the Department found a bottle of prescription medication in Plaintiff’s

unlocked desk in the Department. This medication bottle did not belong to Plaintiff and

his possession of this medication without notifying his supervisors was in violation of

General Order 12, VII (4). (VOB 000998).

       In October 2016, Plaintiff’s dog was involved in a fight with a neighbor’s dog which

resulted in the neighbor’s dog’s death.       (VOB 000874-000878).        Village ordinance

required that Plaintiff’s dog be impounded under the circumstances. (VOB 000874-

000875). Plaintiff did not impound his dog as required by the Village Ordinance but said

that the dog was initially staying with a friend in Darien but he then gave the dog to his

ex-sister-in-law living in Wisconsin. (VOB 000876 – 000173).

       After 9 days of hearing, the Board of Fire and Police Commissioners on February

13, 2017 issued its Findings and Opinion. (VOB 000642-000647). The Board found that

the manifest weight of the evidence and testimony presented supported sustaining the

amended charges against Plaintiff except for the charge that he failed to promptly report

the loss of any municipal property/equipment. (VOB 000646) The Board determined that

Plaintiff’s misconduct constituted a substantial shortcoming that prevents him from being

a police officer with the Village of Bolingbrook and ordered that he be discharged. (VOB

000647). These Findings and Orders were upheld in a later Amended Findings and

Opinion issued March 8, 2017. (VOB 000679-000684). Thereafter, the Board heard




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additional testimony and received additional evidence as to the recommended

consequences for Plaintiff’s misconduct. (VOB 000687). The Board determined that the

mitigating evidence presented by Plaintiff did not change its decision to terminate his

employment with VOB. (VOB 000688).

                             III.   STANDARD OF REVIEW

A.      Plaintiff’s Administrative Review Claim is Not Properly Before this Court and
        Should Be Stricken

        As an initial matter, the Defendants question this Court’s jurisdiction to hear this

state court Administrative Review Action pursuant to 28 U.S.C. §1331. Case law is

somewhat murky in deciding whether a federal court can, or should hear matters involving

administrative review of a state agency’s decision.       City of Chicago v. International

College of Surgeons, 322 U.S. 196 (1997). In this case the Court, in a tortured opinion,

attempting to avoid earlier precedent, held that the City could remove to federal court a

state court action for administrative review because the complaint also raised federal

constitutional claims. However, the Court’s earlier opinion in Chicago R.I. and P.R. Co.

v. Stude, 346 U.S. 574 (1954) provides that a federal district court “does not sit to review

an appeal action taken administratively, or judicially in a state procedure.” Id. at 581.

        Here, Plaintiff has “tacked” on his claim for administrative review of the Board’s

decision to an action alleging claims under the Constitution which are the subject of

pending discovery. Plaintiff did not raise these constitutional claims before the Police and

Fire Board and now wants this Court to review his claims. (See Plaintiff’s Amended

Complaint). The Illinois Administrative Review Act provides that action seeking review of

an administrative decision must be filed in Illinois Circuit Court. 735 ILCS 5/3-109.




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Defendants therefore requests that the Court dismiss and/or strike Plaintiff’s

administrative claim.

B.        Standard of Review for Administrative Actions

          Assuming, for sake of argument, this Court, exercises jurisdiction, its review of an

administrative decision to discharge an employee requires a two-step approach. Ratzik

v. Board of Education of City of Chicago, 356 Ill. App. 3d 813, 823 (1st Dist. 2005). First,

the Court must determine whether the Board’s findings of fact and decision are against

the manifest weight of the evidence and second, the Court must determine whether the

findings sufficiently support the Board’s conclusion and cause for discharge. The Board’s

findings are considered to be prima facie true and the Court may not reweigh the evidence

or make any independent determination of facts.                   Abrahamson v. Department of

Professional Regulation, 153 Ill. 2d 76, 88 (1992). Courts may not substitute its judgment

for that of the Board, and reversal of the Board’s decision is not justified simply because

the opposite conclusion is reasonable or because the Court might have ruled differently.

Id. at 88. Questions of law are reviewed de novo while mixed questions of law and fact

are reviewed under the clearly erroneous standard. Outcome, Inc. v. Illinois Department

of Transportation, 233 Ill. 2d 324 (2009).

                                         IV.     ARGUMENT

A.        Plaintiff’s Due Process Claims Lack Merit

          Plaintiff first attacks the Board’s decision by claiming that the charges against

Plaintiff were vague and ambiguous and thus, in violation of the Due Process Clause.2

Plaintiff appears to argue that because there were so many factual allegations and



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    We assume, for sake of argument, Plaintiff is referring to U.S. Constitutional process protections.


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different incidents involved in the charge. He struggled to follow all of them and thus they

were vague and ambiguous. (See Plaintiff’s Memo, p. 9). Plaintiff’s argument lacks merit

for many different reasons.

       Case law consistently provides that charges in administrative proceedings need

not be drawn with the same precision required of pleadings in judicial proceedings

although the charge must be sufficiently clear and specific to allow preparation of a

defense. Sudduth v. Board of Fire Police Commissioners, 48 Ill. App. 2d 194, 196 (1964).

The Notice of Charges served upon Plaintiff certainly meet the requirement set forth

above.

       The Charges and Amended Charges list, in detail, the factual basis for each charge

along with the specific orders, Rules and Regulations of the Department alleged to have

been violated by Plaintiff (VOB 000600-000608.). Within the Amended Charges Plaintiff

is reminded of the questions and testimony during a previous interrogation in which he

was first informed of his alleged rules/regulation/order violations and the specific rules his

misconduct is alleged to have violated. (VOB 000604-000607). For Plaintiff to now assert

that he was not clear or unsure of what he was being accused of, is simply not credible

when examining the record.

       The Court should also note that Plaintiff was represented by legal counsel

throughout the public hearing and during his pre-hearing interview. The record is devoid

of any assertion during these proceedings that the charges were so vague and

ambiguous that Plaintiff did not understand what he was being accused of.

       The Nelmark case cited by Plaintiff as support is easily distinguishable. In Nelmark

the court determined that one of the charges the plaintiff was found guilty of was not even




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remotely hinted at in the language of the charges proffered. This is not the case here.

The charges for which Plaintiff was found guilty were stated within the Notice of Charges

and drawn within enough specificity as required by statute.             This Court should not

entertain Plaintiff’s attempt to stretch the constitutional protections in this manner.

B.       The Department’s Rule Which Prohibits Association with Felons or Those
         Engaged in Criminal Activity Does Not Violate Any Constitutional Right of
         Plaintiff and is Not Unconstitutional on Its Face

         1.     Rule 12, Section VII (8) application did not violate Plaintiff’s due process
                right.

         Plaintiff asserts that Department Rule 12, Section VII (8) violates Plaintiff’s due

process rights because it prohibited Plaintiff from associating with his son. (Plaintiff’s

memo, pp. 10-14.) Plaintiff argues that this Rule is an impermissible attempt to regulate

familial relationship (Id., p. 10). Plaintiff’s argument lacks merit.

         Plaintiff was employed as a sergeant with the Village Police Department. (VOB

000235). The Department has necessary rules for conduct and behavior of its officers.

(VOB 000721).        Community trust and the trust of fellow officers is a paramount

consideration for the Department. (VOB 000731-000732, 000735).

         In relevant part General Order 12, Section VII (8) or “Rule 8” as Plaintiff describes

it, states as follows:

         B.      Employees shall avoid regular or continuous associations or
         dealings with persons they know, or should know, are persons under
         criminal investigation or indictment, or who have a reputation in the
         community or the Department for present involvement in felonious or
         criminal behavior. Exceptions: when as necessary to the performance of
         official duties, or where unavoidable because of other family or personal
         relationships of the employees.

         C.   If such family or personal relationships exist, then the employee shall
         make notification to the Chief of Police, via memorandum.




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         It is undisputed that Plaintiff has an adult son, Jeremy, who was a convicted felon

and involved with current criminal activity within the Village of Bolingbrook, at all relevant

times.

         Plaintiff relies upon the United States Supreme Court decision in Moore v. East

Cleveland, 431 U.S. 494 (1974) as support for his argument that the Department’s Rule

violated his fundamental right to familial association. Moore addressed a City’s housing

ordinance that, like many housing ordinances limited the occupancy of a dwelling to

members of a single family. Id. at 495-96. However, the Moore ordinance contained an

“unusual and complicated” definitional section that recognized as “family” only a few

categories of related individuals. Id. 498. In so doing, it made a crime of a grandmother’s

choice to live with one of her grandsons. (Id. at 499). In its decision, the court struck

down the City ordinance but the court recognized that the family is not beyond regulation.

See Prince v. Massachusetts, 321 U.S. 158, 166 (1944).

         Courts have long recognized police departments’ rights to regulate the association

of its officers with those engaged in criminal activities. In Merrifield v. Illinois State Police

Board, 691 N.E2d 191 (4th Dist. 1998) the court was asked to review a very similar rule

of the Illinois State Police (“ISP”). The ISP rules prohibit its officers from associating with

persons involved in criminal activity or past involvement in felonious or criminal behavior,

except where unavoidable because of other family relationships of the officer. Id. at 194.

In Merrifield, an officer with ISP became involved in an intimate relationship with a

convicted felon and thereafter married this felon. Id. at 195-196. The court held that the

Board’s decision to terminate Merrifield for his regular and continuous association with an

individual he knew was a convicted criminal served as a basis for finding that he violated




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Department Rules against any such association, even though the felon was his wife, and

upheld the termination of the officer. (Id. at 199).

        Similarly, in Bautista v. County of Los Angeles, 190 Cal. App. 4th 869 (2010), a

terminated officer claimed that the Sheriff’s Department’s termination of his employment

because of his personal relationship, and later marriage, to a known prostitute and heroin

addict violated his freedom of association rights under the First and Fourth Amendments.

Id. at 875. In rejecting, the plaintiff’s arguments, the court stated that the Department’s

regulation prohibiting its officers from associating with those they know are engaging in

criminal activity was not unconstitutionally vague or overbroad. Id. at 818-879, citing Ortiz

v. Los Angeles Police Relief Assn., 98 Cal. App. 4th 1288, 1314 (2002). The court further

held that the Department’s regulation against such association had merely an incidental

effect on the right to intimate association and as such, the appropriate level of scrutiny is

rational basis; that is whether the Department’s prohibited-association policy was

rationally related to a legitimate state purpose. Id. at 877-878. The court held that the

Department has a legitimate interest in regulating the behavior of its sworn officers to

minimize conflicts of interest and protect the credibility and integrity of the Department.

(Id.)

        Contrary to Plaintiff’s assertion that his relationship with his son was the reason for

his termination, it was Plaintiff’s refusal to avoid his continuous and regular association

with a convicted felon and person engaged in criminal activity in violation of Department

Rules that served as one basis for his termination. The record is clear that Plaintiff’s adult

son was a convicted felon that regularly stayed at this home in the Village of Bolingbrook.

(VOB 000964, 000966, 001001).            Plaintiff failed and then later refused to notify




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Department Director about his regular and continuous association with this felon. (VOB

000340).

         For the above reasons and cases set forth above, Plaintiff’s claim that his

constitutional right to association was violated, must be rejected.

C.       Plaintiff Fails to Present Facts That Would Show the Board’s Findings and
         Decision Were Against the Manifest Weight of the Evidence

         The remainder of Plaintiff’s memo contains nothing more than an extended laundry

list in which he asserts the Police and Fire Board “got it wrong” in deciding his case.

Plaintiff’s second guessing and request for this Court to engage in second guessing the

Board’s decision should not stand as it is contrary to the clear legal standard for review.

         The Court’s review of an Administrative Review action is focused only on whether

the Board’s findings are against the manifest weight of the evidence. If there is anything

in the record that fairly supports the Board’s conclusion, it is not against the manifest

weight of the evidence and must be sustained. See Raitzik v. Board of Education of City

of Chicago, supra, citing Finnerty v. Personnel Board of the City of Chicago, 303 Ill. App.

3d 1, 12 (1st Dist. 1999). The record submitted as District’s answer, and this response,

requires that the Court sustain the Board’s findings and decision.

         The Board of Fire and Police was charged with deciding whether the Village of

Bolingbrook Police Department established, by a preponderance of the evidence, the

charges proffered against Plaintiff and his dismissal from the Department. The Board,

throughout the course of 9 days of hearing, received and considered the testimony of

many different witnesses and reviewed hundreds of pages of documentary evidence.

Plaintiff was at all times represented by competent legal counsel. (VOB 00001-01459).

At the hearings’ conclusion, including closing arguments by counsel, the Board voted to



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sustain the majority of the charges proffered by the Department and determined that

Plaintiff’s misconduct constituted a substantial shortcoming that prevented him from being

a sergeant or police officer with the Department. (See VOB 000642-000647 and VOB

000687-000689).

       Plaintiff initially argues that the Department failed to prove that he violated any

order not to associate with his son because such order violates the due process clause

and is unlawful. Defendants have earlier discussed and rebutted Plaintiff’s due process

arguments and incorporates same by reference here. As such, this argument should be

dismissed.

       Plaintiff goes on to assert that Plaintiff was not given an actual order not to

associate with his son, that his interacting with his son were not regular or continuous, his

son did not live with him and he did not fail to write a memo to the chief about his son’s

conviction. (Plaintiff’s memo in support of complaint, p. 19). However, a review of the

record reveals that the Department submitted credible testimony and evidence rebutting

all of these assertions.

       We ask the Court to take note that the Department’s decision to terminate Plaintiff

was not based on his relationship with his son, it was based on Plaintiff’s refusal to stop

his continuous and regular association with a convicted felon and person involved in

current criminal activity. The person happens to be Plaintiff’s adult son, however, it was

the conviction and criminal activity of Plaintiff’s adult son along with Plaintiff’s regular

association with him that served as a basis for the charges and dismissal. (VOB 000643-

000644).




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       The facts show that Plaintiff’s son was convicted of a felony in June 2015. Plaintiff

did not notify the Department of his son’s conviction until confronted with the

Department’s knowledge of this conviction in September 2015. (VOB 000758). The

record also presents evidence of Plaintiff’s regular and continuous association with his

convicted son and his son’s living at his home in Bolingbrook. (VOB 000964, 001001 and

000966). While Plaintiff disputes that his son lived with him and attempts to minimize the

length of time his son “stayed” at his home, it is undisputed that his son Jeremy had a

dedicated bedroom in his house; that he regularly stayed at his home before court

appearances and for a few weeks after a “verbal altercation” with his mother and had

access to his home by way of the garage code. (Id.). It is also undisputed that Jeremy

kept clothes and toiletries at Plaintiff’s home and when arrested or questioned by the

police, said that he lived with Plaintiff at his home in Bolingbrook. (Id.). Other witnesses

that knew Jeremy testified that he lived with his father, Plaintiff, in Bolingbrook. (VOB

000335, 001314 and 001315).

       The record shows that Plaintiff’s above actions violated a direct order against such

association.   Moreover, the record established that Plaintiff was notified on several

occasions, verbally and in writing that association and/or living with Jeremy, because of

his conviction and criminal activity, violated, General Order 12, Section VII (8) (B) and

(C). Plaintiff expressed disagreement with the Department’s directive to him and failed to

comply with Director Ross’ order to keep him advised on all charges and updates as it

related to his son. Plaintiff explained his noncompliance by testifying that “it was not his

(Director Ross’) or anyone’s business.” (VOB 001112).




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       As such, while Plaintiff attempts to minimize and explain away his violation of

orders set forth above, the record demonstrates Plaintiff violated the Rule in question and

the Board’s findings to that effect are not against the manifest weight of the evidence.

       Plaintiff also disputes the Board’s finding that he violated the Department’s rule

prohibiting the possession on use of controlled substances or medications, except with

the approval and guidance of a licensed physician in Illinois and with the knowledge of

his supervisor, by arguing that the intent of this rule was to prevent officers from being

impaired on the job. (Memo, p. 29). Plaintiff’s own interpretation of the rules does not

rebut the Board’s finding as he presented no evidence to support this view.

       Plaintiff had a bottle of hydrocodone-acetaminophen prescribed to his son in his

unsecured desk drawer (VOB 000997 - 000998). Plaintiff did not inform his supervisor

that he had this prescription of medication. (Id.). The record, therefore, is clear that

Plaintiff’s conduct violated Order 12, Section VII (4).

       Plaintiff goes on to claim that the Board’s finding that he failed to cooperate with a

police investigation is not supported by the record. (Memo p. 29 – 32). Plaintiff is wrong

again. The Board determined that Plaintiff failed to file a police report regarding personal

items missing from his home after his son Jeremy held a party there. (VOB 001013).

Items missing from Plaintiff’s home included several watches, television sets, syringes,

hand gun magazine, ammunition and shoes. (VOB 000968 - 000969). Plaintiff was asked

to file a report as to the theft of these items but did not do so. (VOB 000819, 000969).

This Court should not disturb the Board’s findings based on the facts before it.




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       The Plaintiff, incredibly claims that the record does not support a finding that

Plaintiff’s misconduct adversely affected the morale or efficiency of the Department or

impact public trust. The record shows that Plaintiff, a sergeant with the Department:

                 Regularly associated with and allowed his convicted felon son to live with

                  him;

                 Plaintiff’s son engaged in burglary of Plaintiff’s neighbors for which he was

                  arrested by Department officers;

                 Police officers were called to Plaintiff’s home on multiple occasions because

                  of his son’s behavior including alleged assault and battery; and

                 Plaintiff’s son hosted a party in his home in which serious criminal activity,

                  including a sexual assault, was alleged to have taken place. (VOB 000754

                  – 001129).

Given the cumulative effects of the above, the record before the Board sufficiently

established the Board’s finding that Plaintiff’s action adversely impacted the Department’s

morale and trust.

       The record establishes that Plaintiff failed to impound his dog after it attacked and

caused another dog’s death. (Tr. 448-449). Plaintiff’s refusal to comply with this order

supporting the Board’s finding that his actions adversely impacted the Department’s and

public’s trust.

       Plaintiff’s claim that the Board erred in making its decision is not born out by the

record. The Defendants incorporate the Board record and its arguments herein and states

that the Department’s decision to terminate Plaintiff is fully supported by the record.




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                                 IV.    CONCLUSION

      The Board of Fire and Police Commissioners of the Village of Bolingbrook’s

decision and findings reflect careful consideration of the testimony and evidence

presented to them over the course of several days. Their findings of fact are not against

the manifest weight of the evidence. There are no facts supporting any clear error in the

Board’s decision. As such, the Board decision should be upheld and Plaintiff’s Complaint

for Administrative Review denied.

                                         Respectfully submitted,

                                         The VILLAGE OF BOLINGBROOK BOARD
                                         OF FIRE AND POLICE COMMISSIONERS;
                                         BARBARA PROVO, Chairwoman of the
                                         Board of Fire and Police Commissioners;
                                         MAJOR JONES, Vice-Chairman of the Board
                                         of Fire and Police Commissioners; PREM
                                         LALVANI, Secretary of the Board of Fire and
                                         Police      Commissioners;        SANDRA
                                         BALDASSANO, Member of the Board of Fire
                                         and Police Commissioners; MAURICE
                                         BINNS II, Member of the Board of Fire and
                                         Police   Commissioners;     RAY     MACRI,
                                         Member of the Board of Fire and Police
                                         Commissioners:       and,      GRETCHEN
                                         SCHROETER, Member of the Board of Fire
                                         and Police Commissioners,

                                         By:    /s/ Frank B. Garrett III
                                                Frank B. Garrett III

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               CERTIFICATE OF SERVICE BY ELECTRONIC MAILING

      I hereby certify that I electronically filed the Response to Plaintiff’s Memorandum
in Support of Complaint for Administrative Review with the Clerk of the Court using the
CM/ECF system on this 6th day of November, 2017, which constitutes service on all
counsel of record, registered filing users, pursuant to Fed. R. Civ. P. 5(b)(2)(D) and L.R.
5.9:

                                                /s/Frank B. Garrett III
                                                Frank B. Garrett III


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